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     LIMITED and Q CYBER TECHNOLOGIES LIMITED
 7
                                 UNITED STATES DISTRICT COURT
 8
                                NORTHERN DISTRICT OF CALIFORNIA
 9
                                        OAKLAND DIVISION
10

11   WHATSAPP INC., a Delaware corporation,       Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
12   corporation,                                 STATEMENT PURSUANT TO LOCAL
                                                  RULE 79-5(F)(3) OF DEFENDANTS NSO
13                Plaintiffs,                     GROUP TECHNOLOGIES LIMITED
                                                  AND Q CYBER TECHNOLOGIES
14         v.                                     LIMITED AND NON-PARTIES
                                                  TERRENCE DIVITTORIO AND JOSH
15   NSO GROUP TECHNOLOGIES LIMITED               SHANER IN RESPONSE TO
     and Q CYBER TECHNOLOGIES LIMITED,            PLAINTIFFS’ ADMINISTRATIVE
16                                                MOTION TO CONSIDER WHETHER
                  Defendants.                     ANOTHER PARTY’S MATERIAL
17                                                SHOULD BE FILED UNDER SEAL [RE
                                                  DOCKET NOS. 399, 399-2, 399-3, 399-4,
18                                                399-6]
19                                                Judge: Hon. Phyllis J. Hamilton
20                                                Action Filed: 10/29/2019
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      DEFENDANTS’ AND NON-PARTIES’                                     Case No. 4:19-cv-07123-PJH
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 1          Pursuant to Civil Local Rule 79-5(f)(3), Defendants NSO Group Technologies Limited and

 2 Q Cyber Technologies Limited (collectively, the “Defendants”), and non-parties Terrence

 3 DiVittorio and Josh Shaner (the “Non-Parties”), by and through their undersigned counsel, hereby

 4 submit this Local Rule 79-5(f)(3) response to Plaintiffs’ Administrative Motion to Consider

 5 Whether Another Party’s Material Should be Filed Under Seal (“Administrative Motion”) (Dkt.

 6 No. 399). Plaintiffs’ Administrative Motion identifies certain portions of their Motion for Partial

 7 Summary Judgment (the “Summary Judgment Motion”) (Dkt. No. 399-2), the Declaration of

 8 Micah G. Block in Support of Plaintiffs’ Summary Judgment Motion (the “Block Declaration”)
 9 (Dkt 399-3), Exhibits 1, 5-10, 12-17, 20-22, 24-27, 29-30, 32, and 34-36 to the Block Declaration

10 (Dkt. 399-4), and Exhibit A to the Declaration of Meghan Andrew in Support of Plaintiffs’

11 Summary Judgment Motion (Dkt. 399-6) as making reference to materials designated confidential

12 by Defendants and by the Non-Parties.

13          Although courts recognize a general right to inspect and copy public records, “access to

14 judicial records is not absolute.” Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172, 1178

15 (9th Cir. 2006). The showing necessary to seal materials depends on how closely related those

16 materials are to the merits of the case. A party seeking to seal materials submitted with a motion

17 that is “more than tangentially related to the merits of the case” must demonstrate that there are

18 compelling reasons to keep the documents under seal. Ctr. for Auto Safety v. Chrysler Grp., LLC,
19 809 F.3d 1092, 1101–02 (9th Cir. 2016). Courts apply the compelling reasons standard to sealing

20 requests related to a motion for summary judgment. Fed. Deposit Ins. Corp. v. Bayone Real Estate

21 Inv. Corp., 2017 WL 1398311, at *2 (N.D. Cal. Apr. 19, 2017). It is in the “sound discretion of

22 the trial court” to determine what constitutes a “compelling reason” for sealing a court document.

23 In re Da Vinci Surgical Robot Antitrust Litig., No. 21-CV-03825-AMO, 2024 WL 1687645, at *1

24 (N.D. Cal. Apr. 17, 2024) (citing Ctr. for Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1096

25 (9th Cir. 2016)). “Compelling reasons justifying sealing court records generally exist when such

26 “court files might . . . become a vehicle for improper purposes” such as “releas[ing] trade secrets

27 [] or as sources of business information that might harm a litigant's competitive standing.” Id.; see

28 also Grace v. Apple, Inc., No. 17-CV-00551-LHK, 2019 WL 12288173, at *3 (N.D. Cal. Aug. 22,
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 1   2019) (“Competitive harm and security concerns can qualify as compelling reasons.”); Nursing

 2   Home Pension Fund v. Oracle Corp., 2007 WL 3232267, at *1 (N.D. Cal. Nov. 1, 2007) (citing

 3   Foltz v. State Farm Mut. Auto. Ins. Co., 331 F.3d 1122, 1134 (9th Cir. 2003) (“The Ninth Circuit

 4   has found that compelling reasons exist to keep personal information confidential to protect an

 5   individual’s privacy interest and to prevent exposure to harm or identity theft.”)

 6           Specifically, Courts have found that compelling reasons exist to seal “proprietary

 7   information concerning [a party’s] technology and internal business operations” and “descriptions

 8   of [a party’s] proprietary technology, Transperfect Global, Inc. v. MotionPoint Corp., 2013 WL

 9   706975, at *1 (N.D. Cal. Feb. 26, 2013), and information regarding “long-term financial

10   projections, discussions of business strategy, and competitive analyses.” Krieger v. Atheros

11   Commc'ns, Inc., No. 11-CV-640-LHK, 2011 WL 2550831, at *1 (N.D. Cal. Jun. 25, 2011); In re

12 Google Location Hist. Litig., No. 5:18-cv-05062-EJD, 514 F.Supp.3d 1147, 1162 (N.D. Cal. Jan.

13 25, 2021) (“Compelling reasons may exist to seal ‘trade secrets, marketing strategies, product

14 development plans, detailed product-specific financial information, customer information, internal

15 reports.’”); Synchronoss Techs., Inc. v. Dropbox Inc., 2019 WL 3718566, at *1 (N.D. Cal. Aug. 7,

16 2019) (“Courts have found that ‘confidential business information’ in the form of ‘license

17 agreements, financial terms, details of confidential licensing negotiations, and business strategies’

18 satisfies the ‘compelling reasons’ standard.”). Courts have also found “compelling reasons to seal

19 . . . source code directories, information about the technical operation of the products, financial

20 revenue data, and excerpts from expert depositions, expert report, and related correspondence.”

21 Finjan, Inc. v. Proofpoint, Inc., 2016 WL 7429304, at *2 (N.D. Cal. Feb. 9, 2016). Further,

22 “pricing, profit, and customer usage information, when kept confidential by a company, is

23 appropriately sealable under the ‘compelling reasons’ standard where that information could be

24 used to the company's competitive disadvantage.”           Icon-IP Pty Ltd. v. Specialized Bicycle

25 Components, Inc., 2015 WL 984121, at *2 (N.D. Cal. Mar. 4, 2015); Fed. Trade Comm'n v.

26 Microsoft Corp., No. 23-CV-02880-JSC, 2023 WL 5186252, at *5 (N.D. Cal. Aug. 11, 2023)

27 (finding compelling reasons to seal “[n]on-public sensitive financial information”). Courts have

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 1   also found compelling reasons to seal “customers’ personal information, which includes the

 2   customers’ names, account numbers, IP addresses, email addresses, and/or customer activities on

 3   certain platforms, in order to protect the customers’ privacy.” Activision Publ’g, Inc. v. Engine

 4   Owning UG, 2023 WL 2347134, at *1 (C.D. Cal. Feb. 27, 2023); see Am. Automobile Ass'n of N.

 5   Cal., Nev., & Utah, 2019 WL 1206748, at *2 (N.D. Cal. Mar. 14, 2019) (finding compelling

 6   reasons to seal personally identifiable information, “including names, addresses, phone numbers,

 7   and email addresses”).     Lastly, Courts have found compelling reasons to seal non-public

 8   government information. See Hyundai Motor Am., Inc. v. Midwest Indus. Supply Co., No.

 9   217CV3010JCMGWF, 2019 WL 11638962, at *2 (D. Nev. June 20, 2019).

10          The categories of documents within Exhibits 1, 5-10, 12-17, 20-22, 24-27, 29-30, 32, and

11 34-36 to the Block Declaration and references to those Exhibits in the Block Declaration and

12 Plaintiffs’ Summary Judgment Motion include excerpts from the parties’ technical expert reports

13   and financial expert reports, Defendants’ written discovery responses, excerpts from Defendants’

14   depositions, and documents designated as confidential by Defendants and the Non-Parties.

15          Excerpts from Technical Expert Reports about Defendants’ Technology

16          The parties’ technical expert reports about Defendants’ technology include Exhibit 1,

17   excerpts from the report of Plaintiffs’ proposed technical expert, David Youssef, Exhibit 29,

18   excerpts from the rebuttal report of David Youssef, Exhibit 25, excerpts from the report of

19   Plaintiffs’ proposed technical expert, Anthony Vance, and Exhibit 30, excerpts from the rebuttal

20   report of Defendants’ technical and cybersecurity expert, Terrance McCraw. These excerpts from

21   the parties’ technical expert reports contain highly confidential technical information regarding the

22   functioning of Defendants’ technology, including source code or server logs reflecting the

23   functioning of source code, discussions regarding the technical functions of Defendants’

24   technologies, and specific IP addresses. They also include commercially sensitive information,

25   including WhatsApp account numbers and phone numbers. These materials not only set forth and

26 discuss Defendants’ highly confidential technology, the information discussed therein are also

27 subject to legal restrictions that require Defendants to use best efforts to keep this information out

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 1   of the public record.    The Court has already granted motions to seal with respect to this

 2   information, including in its Orders dated September 14, 2023 (Dkt. 217), November 15, 2023

 3   (Dkt. 233), and August 1, 2024 (Dkt. 358).

 4          Expert Reports Containing Defendants’ Financial Information

 5          The parties’ financial expert reports include Exhibit 12, excerpts from the report of

 6   Plaintiffs’ proposed damages expert, Dana Trexler, Exhibit 26, excerpts from the supplemental

 7 report of Dana Trexler, and Exhibit 34, excerpts from the rebuttal report of Defendants’ financial

 8 expert, Gregory A. Pinsonneault. These reports include extensive discussion of Defendants’

 9 highly confidential financial information, including their revenues and profits and confidential

10   details of Defendants’ licensing terms. Similarly, Exhibit 27, which is Defendants’ own analysis

11   of the revenues and profits derived from relevant lawful-intercept technologies, contains extensive

12   discussion of Defendants’ highly confidential customer information (including specific

13   technologies licensed) and financial information (including Defendants’ contract terms, revenues,

14   and profits).

15          Written Discovery Responses

16          Defendants’ written discovery responses include Exhibits 5 and 20 to the Block

17   Declaration.    Exhibit 5, Defendants’ Supplemental Objections and Responses to Plaintiffs’

18   Interrogatories Nos. 1-3, 6-9, and Exhibit 20, Defendants’ Responses and Objections to Plaintiffs’

19 First Set of Requests for Admission, contain references to Defendants’ obligations under Israeli

20   law, with respect to which the Court has already granted motions to seal, including in its Orders

21   dated September 14, 2023 (Dkt. 217), November 15, 2023 (Dkt. 233), and August 1, 2024 (Dkt.

22   358), highly technical information regarding Defendants’ technologies, business and licensing

23   activities, including reference to specific IP addresses, confidential information non-public

24   government information, and commercially sensitive information, including WhatsApp account

25   numbers, email addresses, and phone numbers.

26          Deposition Transcripts Containing Highly Confidential Information

27          Exhibits 6, 8, 10, and 21 to the Block Declaration are excerpts from Defendants’ deposition

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 1   transcripts. Specifically, Exhibit 6, excerpts from the deposition transcript of NSO’s Vice

 2   President of Research and Development, Exhibit 8, excerpts from the deposition transcript of

 3   NSO’s Senior Vice President, Customer Based Division, Exhibit 10, excerpts from the deposition

 4   transcript of NSO’s Chief Executive Officer, and Exhibit 21, excerpts from deposition transcript

 5   of NSO’s Vice President, Global Business Operations, all contain references to: Defendants’

 6   obligations under Israeli law, with respect to which the Court has already granted motions to seal;

 7   highly confidential information about the research, development, and functioning of Defendants’

 8   technologies, including technologies not at issue in this lawsuit; business operations; and highly

 9   confidential pricing and financial information.       They also contain commercially sensitive

10   information, including WhatsApp account numbers and phone numbers. Exhibit 16, excerpts from

11 deposition transcript of Josh Shaner, contain highly confidential information regarding the

12 business operations of Defendants and of third-party company Westbridge, including non-public

13 government information, and commercially sensitive information, including phone numbers and

14 email addresses.

15          Documents Produced in Discovery Setting Forth Defendants’ Confidential Technical and

16   Customer Information

17          Exhibits 7, 9, 13, 14, 15, 17 (and reference to Exhibit 17 in the Block Declaration), 22, 24,

18 32, 35, and 36 to the Block Declaration are documents designated as confidential by Defendants

19 and the Non-Parties. They include highly confidential information about the research, functioning,

20 and capabilities of Defendants’ technologies, including those not relevant to this lawsuit, internal

21 business documents, confidential customer information, non-public government information, and

22 Defendants and affiliate Westbridge’s commercially sensitive information, including WhatsApp

23 account numbers and personal and employee phone numbers. Defendants do not object to the

24 public filing of Exhibit 31 to the Block Declaration.

25          Exhibit A to the Declaration of Meghan Andrew in Support of Plaintiffs’ Summary

26 Judgment Motion includes commercially sensitive information, including WhatsApp account

27 numbers and phone numbers.

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 1          Lastly, the portions Plaintiffs identify in the Summary Judgment Motion, in pages i and 1

 2   through 25, include references to all these Exhibits, including the categories of confidential

 3   information as discussed above and additional description of highly confidential technical

 4   information regarding the functioning of Defendants’ technologies.

 5          The public disclosure of each of these categories of information would harm the interests

 6   of Defendants and the Non-Parties. Accordingly, Defendants and the Non-Parties respectfully

 7   request that the Court keep under seal those portions of Plaintiffs’ Summary Judgment Motion,

 8   the Block Declaration, Exhibits 1, 5-10, 12-17, 20-22, 24-27, 29-30, 32, and 34-36 to the Block

 9   Declaration, and Exhibit A to the Declaration of Meghan Andrew in Support of Plaintiffs’

10   Summary Judgment Motion identified herein, for the reasons stated herein and the same reasons

11   that the Court granted Defendants’ prior motions to seal.

12

13   DATED: October 4, 2024                           KING & SPALDING LLP
14                                                    By: /s/Aaron S. Craig
                                                          JOSEPH N. AKROTIRIANAKIS
15
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17                                                        CYBER TECHNOLOGIES LIMITED and
                                                          for Non-Parties TERRENCE
18                                                        DIVITTORIO AND JOSH SHANER
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